—

STATE OF NORTH CARULINA

 

 

File 1. CRS $0352.

GASTON County

Ieee2s W271AS, L271, &2729 SSIZ

In The General Court Of Justice

(_] District Superior Court Division

 

STATE VERSUS

 

Name Of Defendant

dD. Black

 

D

= Teffrey
S-

Age Highest Level Of Education Completed

Q2-1B 39. GED

 

 

 

TRANSCRIPT OF PLEA

G.S. 15A-1022, 15A-1022.1

 

NOTE: Use this section ONLY when the Court is rejecting the plea arrangement.

. (] The plea arrangement set forth within this transcript is hereby rejected and the clerk shall place this form in the case file. (applies to plea
arrangements disclosed on or after December 1, 2009.)

 

Date

Name Of Presiding Judge (Type Or Print) Signature Of Presiding Judge

 

 

 

 

 

 

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3)

The undersigned judge, having addressed the defendant personally in open court, finds that the defendant (1) was duly sworn or

Answers

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(2)_Sava= _

Init

(4ay)_ No
(4b) Ok. ZOIL

(5) kr —
(6a)
(6b)
(7a)
(7b) a
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(78) Sa
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(9) Yr

(10)
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affirmed, (2) entered a plea of guilty (_] guilty pursuant to Alford decision [_] no contest, and (3) offered the following answers to
the questions set out below:

41. Are you able to hear and understand me?

2. Do you understand that you have the right to remain silent and that any statement you make may be used
against you?

3. At what grade level can you read and write?

4. (a). Are you now under the influence of alcohol, drugs, narcotics, medicines, pills, or any other substances?
(b). When was the last time you used or consumed any such substance?

5. Have the charges been explained to you by your lawyer, and do you understand the nature of the charges,
and do you understand every element of each charge? .

6. (a)..Have you and your lawyer discussed the possible defenses, if any, to the charges?

(b). Are you satisfied with your lawyer's legal services?

7. (a). Do you understand that you have the right to plead not guilty and be tried by a jury?

(b). Do you understand that at such trial you have the right to confront and to cross examine witnesses
against you?

(c). Do you understand that at a jury trial you have the right to have a jury determine the existence of any

- “ aggravating factors that may apply to your case (and, if applicable, additional sentencing points not related to
prior convictions) beyond a reasonable doubt?

(d). Do you understand that by your plea(s) you give up these and other valuable constitutional rights to a
jury trial (and, if applicable, rights related to sentencing)?

8. Do you understand that, if you are not a citizen of the United States of America, your plea(s) of guilty or no
contest may result in your deportation from this country, your exclusion from admission to this country, or the
denial of your naturalization under federal law?

9. Do you understand that upon conviction of a felony you may forfeit any State licensing privileges you have in
the event that you refuse probation or that your probation is revoked?
10. Do you understand that following a plea of guilty or no contest there are limitations on your right to appeal?
11. Do you understand that your plea of guilty may impact how long biological evidence related to your case
(for example, blood, hair, skin tissue) will be preserved?
AOC-CR-309 ReaSe 3:20-cr-00426-FDW-DSC_ Docurff¥A51-5 Filed 10/27/21 Page 1 of 4
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12. Do you understand that you are pleading . {X] guilty [-] no contest to the charges shown below?
(Describe charges, total maximum punishments, and applicable mandatory minimums for those charges.)

 

  
     

 

 

 

 

 

  
  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

guilty whether or not you admit that you are in fact guilty?

L] (c) (Alford guilty plea)
(1) Do you now consider it to be in your best interest to plead guilty to the charges | just described? (14c1)

or not you admit that you are in fact guilty?

[_] 15. (Use if aggravating factors are listed below) Have you admitted the existence of the aggravating factors shown
below, have you agreed that there is evidence to support these factors beyond a reasonable doubt, have
you agreed that the Court may accept your admission to these factors, and do you understand that you
are waiving any notice requirement that the State may have with regard to these aggravating factors
[_] agree that the State has provided you with appropriate notice about these aggravating factors? (if so,
review the aggravating factors with the defendant.)

[_] 16. (Use if sentencing points are listed below) Have you admitted the existence of the sentencing points not related
to prior convictions shown below, have you agreed that there is evidence to support these points beyond a
reasonable doubt, have you agreed that the Court may accept your admission to these points, and do you
[_Junderstand that you are waiving any notice requirement that the State may have with regard to these
sentencing points [_] agree that the State has provided you with appropriate notice about these
sentencing points? (If so, review the sentencing points with the defendant.)

17. Do you understand that you also have the right during a sentencing hearing to prove to the Court the
existence of any mitigating factors that may apply to your case?

18. Do you understand that the courts have approved the practice of plea arrangements and you can discuss
your plea arrangement with me without fearing my disapproval?

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DUAR PLEAS
Count Date Of Maximum
‘vw | Plea* File Number No.(s) Offense(s) Offense Punishment
G IV CRS SO353-| TS jLarceny of Motor Vehicle $-3-'Ne [I4-72 (A) IF IH BY months
Bm ® Breaking alor Entering san tY-SMY F UH 39 months
TE. [(w) Lereany IN- 13. MI | \20 dass
G CRS GATas | 1 (F) Loreeny $-27-1& I4-T2{A) F IH 3A months
CG lkees GAata1 | LT |) Poss. of Shien Goods $-9-Ib M-Fh.t F IH 39. months
6 Ik C2$ /araq | DL l(F) Breaking 4 [or Entering §-U-t& m-Su(A) | FE |H 134 months
TK |Loreeny ofker Gr € B-U-le | 14 -VWa@a] Fe [4 A months
G IUcas SB9qay | ZT ssession of Methomphe rartine 1-29-Ile | GO-A@S1AR3)| F FL 24 wonths
[_] See attached AOC-CR-300A, for additional charges.
| *G = Guilty. GA = Alford plea >
NC = No Contest TOTAL MAXIMUM PUNISHMENT asd months plus {20 dors
MANDATORY MINIMUM FINES & SENTENCES (if any) b
Y NOTE TO CLERK: If this column is checked this is an added offense or reduced charge.
+ NOTE: Enter punishment class if different from underlying offense class (punishment class represents a status or enhancement).
13. Do you now personally plead [Guilty [] no contest to the charges | just described? (13)
14. [A{a) Are you in fact guilty? (14a)
(J (b) (no contest plea) Do you understand that, upon your plea of no contest, you will be treated as being (14b) SIA

ke

(15) _NJaA

(2) Do you understand that, upon your "Alford guilty plea," you will be treated as being guilty whether (14c2)_ N\|*

Ge) ala

(17) See
(18) _eyeae
 

 

 

   

FileNo. \' © »«» S035
STATE VERSUS We crs GAAS, GAIAT, LATAd, SBWY_
e Of Defendant

Teirey WD. “Black.
19. Have you agreed to plead [guilty [[] no contest as part of a plea arrangement? (If so, review the terms

(19) Aon
of the plea arrangement as listed in No. 20 below with the defendant.)
20.

The prosecutor, your lawyer and you have informed the Court that these are all the terms and conditions of
your ples:

gatas PLEA ARRANGEMENT psoas aE A

he “Defendant SHOW pled quilly bo \ count of Lorcany ¢ ot a Woke Vahi le 5
Xo \ counk of Xelony larceny: Yo A counts & breaking andlor enraring ; ~ So |

counk of Salon QOSsess lory & stolen goods ° ’ So \ coun of Vor cany ate breaking

ena\or entering ams? amt? 4. \ counnds of WW) larcany and fe | count of possession of
Merhomphervamine, Te stats agrees thet these Canes Shall be consolidated inte
X \Wwaaments Wherein the Delendowt sholl ceceWwe suspended senkences with no
additonal ackive Lame buk uhidr sholl pun conseanrkively if ackivated, The

other Kerms and cond\dtons of he DeLen dovd's yudqmnen's AFA I dhe Courd's Aiseredion,

[FT The State dismisses the charge(s) set out on Page Two, Side Two, of this transcript.

(_] The defendant stipulates to restitution to the party(ies) in the amounts set out on "Restitution Worksheet, Notice And Order (Initial
Sentencing)" (AOC-CR-611).

21. Is the plea arrangement as set forth within this transcript and as | have just described it to you correct as

(21) Ate
being your full plea arrangement?
22

. Do you now personally accept this arrangement? (22) <a
23. (Other than the plea arrangement between you and the prosecutor) has anyone promised you anything or (23)
threatened you in any way to cause you to enter this plea against your wishes?
24. Do you enter this plea of your own free will, fully understanding what you are doing?

é (24)
25. Do you agree that there are facts to support your plea‘ [_] and admission to aggravating factors (25)

(_] and sentencing points not related to prior convictions, and do you consent to the Court hearing a
summary of the evidence?

26. Do you have any questions about what has just been said to you or about anything else connected to your (26) _No
case?

ACKNOWLEDGEMENT BY DEFENDANT fees

| have read or have heard all of these questions and understand them. The answers shown are the ones | gave in open court and they

are true and accurate. No one has told me to give false answers in order to have the Court accept my plea in this case. The terms and
conditions of the plea as stated within this transcript, if any, are accurate.

 

Date

SWORN/AFFIRMED AND SUBSCRIBED TO BEFORE ME lo- 3-19
Date

10/3f/7__ | 2 GAD EY BLLB Lie

Wa ee eféndant (Type Or Print)
Ke Deputy CSC CO asofonose CO Clerk Of Superior Court

efrey DB, Black
| CERTIFICATION BY LAWYER FOR DEPENDANT |e

| hereby certify that the terms and conditions stated within this transcript, if any, upon which the defendant's plea was entered are
correct and they are agreed to by the defendant and myself. | further certify that | have fully explained to the defendant the nature and

elements of the charges to which the defendant is pleading, and the aggravating and mitigating factors and prior record points for
sentencing, if any.

Date

 

 

 

 

 

 

. » » |Name Of Lawyer For Defendant (Type Or Print) Signature OfLawyer Fo/Refendant
1O- > ~ a) Lorry G. Houle ee Si
me ona RG -p CERSIFICATION BY PROSECUTOR WS) |. Nee

As prosecutor for this Prosecutorial District, | hereby certify that the conditions stated within this transcript, if anyrate the terms and
conditions agreed to by the defendant and his/her lawyer and myself for the entny.of the plea by the defendant to the charges in this
case. “

Date

 

 

 

 

Name Of Prosecutor (Type Or Print)

\O-3-11 Debbie Gu ledge t
AOC-CR-300, Page @&E 2 OnGl-00426-FDW-DSC ~Docum nt bri 51-5 Aled 10/27/21 Page 3 of 4

—~
Signdlure}Ot-Prosecutor

 

 

 

 

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cue Dea, Levee stint as ti a vill PLEA ADJUDICATION [ od eRe 3 Li ER S feredoe ss Ueehs
Upon consideration of the record proper, evidence or factual presentation offered, answers of the defendant, statements of the lawyer for
the defendant, and statements of the prosecutor, he undersigned finds that:

1. There is a factual basis for the entry of the plea (and for the admission as to aggravating factors| and/or sentencing points);

. The defendant is satisfied with his/her lawyer's legal services;

2
3. The defendant is competent to stand trial:
4. [_] The State has provided the defendant with appropriate notice as to the aggravating factors and/or points; [_] The defendant has

waived notice as to the aggravating factors and/or points; and
5. The plea (and admission) is the informed choice of the defendant and is made freely, voluntg rily and understandingly.

The defendant's plea (and admission) is hereby accepted by the Court and is s ordered reoorsed AZ
LP > :

Dale Name Of Presiding; Uae pe Of Prin po wy ie yi Ta Judge
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(Q OF ar) 4
ielal SUPERIOR COURT DISMISSALS PURSUANT 765 PLEA ARRANGEMENT byes

 

 

 

 

 

 

 

 

Tene No. Count No.(s) ¢ ~~ offense(s) .
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We ces S824 I Um) Pass. of Drug Porapherndlta |

Ile CRS GUIS x (F) Larceny

 

| DISTRICT COURT DISMISSALS PURSUANT TO PLEA ARRANGEMENT [Rath SOR A PR
Offense(g)

 

File No. Count No.(s)

 

 

 

 

 

 

pilates ALE bee Ges] CERTIFICATION BY PROSECUTOR He

a The undersigned prosecutor enters a dismissal to the above charges pursuant toa plea arrangement shown on this Transcript Of Plea.
Date Name Of Prosecutor (Type Or Print) siature prpeseare
\O- 3 19 Debbie Gulledge he

 

 

 

 

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